                             IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                               )
MCGARRY                                        )
                                               )
                                               )
                  Plaintiff(s)                 )
          v.                                   )    Civil Action No. 1:18-cv-00149
                                               )
LAKESHORE MANAGEMENT, INC. et al               )
                                               )
                                               )
                  Defendant(s)                 )


                                      REPORT OF NEUTRAL


A   mediation         session was held in the above captioned matter on   December 11, 2018 .


The case (please check one):
       X     has resolved
             has resolved in part (see below)
             has not resolved.

The parties request that a follow up conference with the Court should be scheduled within
_____ days.


If the case has resolved in part, please indicate the part that has resolved and/or the
claim(s)/parties that remain.




Dated:    December 14, 2018                    _____________________________________
                                               S/ Kenneth J. Benson
                                               Signature of Neutral

                                                                                          Rev. 09/11
